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FILED __

IN THE UNITED STATES DISTRICT COURT WAR 9 2004
FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION ae
eee

UNITED STATES OF AMERICA

CR.NO. AlA\ er \bO~ RAH-ITA
[18 U.S.C. § 242;

)
)
v. )
)
DEVLON WILLIAMS and ) 18 U.S.C.8 1519;
)
)
)
)

LARRY MANAGAN, JR. 26 U.S.C. § 1512(b)(3)]

INDICTMENT

The Grand Jury charges:

INTRODUCTION

At all times relevant to this Indictment:

1. DEVLON WILLIAMS was employed as a Correctional Sergeant with the Alabama
Department of Corrections (“ADOC”) at ADOC’s Staton Correctional Facility.

2. LARRY MANAGAN, JR. was employed as a Correctional Officer with ADOC at
ADOC’s Staton Correctional Facility.

3. D.H. was an inmate at ADOC’s Staton Correctional Facility.

COUNT 1
(Deprivation of Rights Under Color of Law)

4. Paragraphs 1-3 of the Introduction are hereby realleged and incorporated herein as

though fully set forth herein.

5. On or about March 8, 2018, in Elmore County, within the Middle District of Alabama,

the defendants,

DEVLON WILLIAMS and
LARRY MANAGAN, JR.,

together with and aiding and abetting each other and acting under color of law, did assault D.H.

by striking D.H. with their feet, and by striking him with a collapsible baton, and did thereby

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willfully deprive D.H. of the right, secured and protected by the Constitution and the laws of the
United States, to not be subjected to cruel and unusual punishment by one acting under color of
law. This offense resulted in bodily injury to D.H. and involved the use of dangerous weapons,
namely a baton and shod feet.

All in violation of Title 18, United States Code, Sections 242 and 2.

COUNT 2
(Deprivation of Rights Under Color of Law)

6. Paragraphs 1-3 of the Introduction are hereby realleged and incorporated herein as
though fully set forth herein.

7. On or about March 8, 2018, in Elmore County, within the Middle District of Alabama,
the defendant,

LARRY MANAGAN, JR.,

while acting under color of law, did assault D.H. by walking on D.H., and did thereby willfully
deprive D.H. of the right, secured and protected by the Constitution and the laws of the United
States, to not be subjected to cruel and unusual punishment by one acting under color of law. This
offense resulted in bodily injury to D.H. and involved the use of a dangerous weapon, namely shod
feet.

All in violation of Title 18, United States Code, Section 242.

COUNT 3
(Falsification of Records:)

8. Paragraphs 1-3 of the Introduction are hereby realleged and incorporated herein as
though fully set forth herein.
9. On or about March 9, 2018, in Elmore County, within the Middle District of Alabama,

the defendant,
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DEVLON WILLIAMS,
did knowingly falsify and make a false entry in a record or document with the intent to impede,
obstruct, and influence the investigation and proper administration of a matter within the
jurisdiction of an agency of the United States, that is, the Federal Bureau of Tawestiontion and the
U.S. Department of Justice. Specifically, DEVLON WILLIAMS falsely wrote in an Alabama
Department of Corrections “Incident Report” concerning the use of force against inmate D.H. on
March 8, 2018, that “inmate [D.H.] was not kicked at any time by Correctional Staff,” in order to
impede, obstruct, and influence an investigation of the events. In fact, as WILLIAMS knew,
WILLIAMS kicked inmate D.H.
All in violation of Title 18, United States Code, Section 1519.

COUNT 4
(Obstruction)

10. Paragraphs 1-3 of the Introduction are hereby realleged and incorporated herein as
though fully set forth herein.

11. On or about April 3, 2018, in Elmore County, within the Middle District of Alabama,
the defendant,

DEVLON WILLIAMS,

did knowingly attempt to corruptly persuade, and knowingly engaged in misleading conduct
toward another person, with intent to hinder, delay, and prevent the communication to a federal
law enforcement officer of information relating to the commission and possible commission of a
federal offense, namely DEVLON WILLIAMS’ and LARRY MANAGAN, JR.’s use of force
against D.H. on March 8, 2018, as set forth in greater detail in Count 1 of this Indictment.
Specifically, DEVLON WILLIAMS falsely stated to W.C., an agent with the Investigations &

Intelligence Division of the Alabama Department of Corrections, that he did not kick inmate D.H.

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In fact, as WILLIAMS knew, he kicked inmate D.H.
All in violation of Title 18, United States Code, Section 1512(b)(3)

COUNT 5
(Obstruction)

12. Paragraphs 1-3 of the Introduction are hereby realleged and incorporated herein as
though fully set forth herein.

13. On or about March 20, 2018, in Elmore County, within the Middle District of Alabama,
the defendant,

LARRY MANAGAN, JR.,

did knowingly attempt to corruptly persuade, and knowingly engaged in misleading conduct
toward another person, with intent to hinder, delay, and prevent the communication to a federal
law enforcement officer of information relating to the commission and possible commission of a
federal offense, namely DEVLON WILLIAMS’s and LARRY MANAGAN, JR.’s use of force
against D.H. on March 8, 2018, as set forth in greater detail in Count | of this Indictment.
Specifically, LARRY MANAGAN, JR. falsely stated to W.C., an agent with the Investigations &
Intelligence Division of the Alabama Department of Corrections, that MANAGAN, JR. did not
hit, strike, or do anything to D.H., and that MANAGAN, JR. did not see DEVLON WILLIAMS
hit, stomp, or do anything to D.H. In fact, as MANAGAN, JR. knew, MANAGAN, JR. kicked

inmate D.H., and DEVLON WILLIAMS kicked inmate D.H.

All in violation of Title 18, United States Code, Section 1512(b)(3)

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A TRUE BILL

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POREPERSON

SANDRA J. STEWART

ACTING UNITED STATES ATTORNEY

Eric M. Counts
Assistant United States Attorney

